     Case 8:19-cv-02319-TGW Document 69 Filed 01/12/21 Page 1 of 1 PageID 667




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


NEELAM UPPAL,

        Plaintiff,

v.                                                 Case No. 8:19-cv-2319-T-210TGW

WELLS FARGO FINANCIAL,

     Defendant.
____________________________________/

                                        ORDER

        This order follows the Court’s examination of this action. Under Title 28, United

States Code, Section 455, and Canon 3(C) of the Code of Conduct for United States

Judges, I will recuse myself from this case because I have a financial interest in the

Defendant corporation. Accordingly, the Clerk is directed to reassign by random draw

this case to another District Judge.

        ORDERED in Tampa, Florida, on January 12, 2021.
